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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES,

      v.                                             Criminal Action No. 23-cr-0237 (CJN)

JAY JAMES JOHNSTON, and
NATHAN EARL HUGHES,

               Defendants.


                             AMENDED SCHEDULING ORDER

       Trial is set to commence in this matter on July 15, 2024, at 9:00 a.m. Jury selection will

begin that day at 9:00 a.m. in Courtroom 17. The following deadlines shall govern pretrial

proceedings:

       1.      The Parties shall file any pretrial motions (including motions to dismiss) on or

               before March 22, 2024; oppositions shall be filed on or before April 5, 2024; and

               replies shall be filed on or before April 12, 2024.

       2.      The Parties shall file any notices of expert witnesses on or before March 22,

               2024.

       3.      Before filing any motion, the Parties shall meet and confer to discuss whether any

               issues presented by the motion can be resolved by agreement of the Parties.

       4.      The Parties shall file any motions in limine on or before June 7, 2024; responses

               to motions in limine shall be filed on or before June 21, 2024; replies in support

               of the motions in limine shall be filed by June 28, 2024.

       5.      The United States shall notify Defendant of its intention to introduce any Rule

               404(b) evidence not already disclosed on or before June 24, 2024.




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6.   The United States should endeavor to make grand jury and Jencks Act disclosures

     as to each witness it expects to call in its case-in-chief on or before June 10,

     2024. Any Brady material not already disclosed also must be disclosed by this

     date.

7.   On or before June 28, 2024, the Parties shall file a Joint Pretrial Statement that

     contains the following:

        a. A neutral statement of the case: The Parties shall include a neutral

             statement of the case for the Court to read to prospective jurors.

        b. Proposed voir dire questions: The Parties shall indicate –

                 i. the voir dire questions that the Parties agree to; and

                ii. the voir dire questions that the Parties disagree on, with specific

                    objections noted as to each disputed question.

        c. Proposed jury instructions: The Parties shall submit a list of proposed jury

             instructions, followed by the text of each proposed instruction, that

             indicates:

                 i. the instructions that the Parties agree to; and

                ii. the instructions that the Parties disagree to, with specific objections

                    noted below each disputed instruction, and the proposed

                    instruction’s source including supporting legal authority.

             Proposed instructions may be updated as needed to reflect the evidence

             presented at trial. Absent a showing of good cause, no other modifications

             will be permitted.




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       d. List of witnesses: The Parties shall identify the witnesses that each side

          anticipates it may call in its case-in-chief, divided into the following

          categories:

               i. witnesses who will be called to testify at trial;

              ii. witnesses who may be called to testify at trial; and

              iii. witnesses whose testimony a Party will present by deposition or

                  other prior testimony, indicating whether the presentation will be

                  by transcript or video.

                  The Court will read the list of witnesses to the jury during voir

                  dire. In the list, each witness name should be accompanied by a

                  brief description of each witness’s expected testimony and area of

                  expertise, if applicable, followed by specific objections, if any, to

                  each witness.

       e. Exhibit lists: The Parties shall include an exhibit list that each side

          anticipates it may introduce in its case-in-chief. The Parties need not list

          any exhibit that might be used for purposes of impeachment. The Parties

          should confer with Courtroom Deputy Courtney Moore about the format

          of the exhibit list. The Parties should not provide a copy of the exhibits to

          the Court but must exchange pre-marked exhibits. The Parties must be

          prepared to raise objections to any proposed exhibit at the Pretrial

          Conference. The objecting party shall bring three copies of any contested

          exhibit to the Pretrial Conference.

       f. Stipulations: The Parties shall submit a draft of all stipulations.




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               g. Proposed verdict form: The Parties shall include a draft verdict form,

                    including any proposed special interrogatories. The draft verdict form

                    should include a date and signature line for the jury foreperson.

      8.    In addition to filing the Joint Pretrial Statement, on April 22, 2024, the Parties

            shall transmit, in Word format, an electronic copy of (a) any proposed

            modification to a standard jury instruction, (b) any non-standard jury instruction,

            and (c) the verdict form by email to the Courtroom Deputy Courtney Moore at

            Courtney_Moore@dcd.uscourts.gov.

      9.    The Court will schedule hearings on any motions filed by the Parties as necessary.

      10.   Counsel shall appear on July 8, 2024, at 12:30 p.m. for a pretrial conference in

            Courtroom 17.

It is so ORDERED.


DATE: February 14, 2024
                                                           CARL J. NICHOLS
                                                           United States District Judge




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